                  IN THE UNITED STATES DISTRICT COURT FOR THE
                        NORTHERN DISTRICT OF OKLAHOMA
                                 TULSA DIVISION

                                    §
UNITED STATES OF AMERICA            §     CIVIL NO. 18-CV-166-TCK-CDL
ex rel. Tesfalem Issac,             §
                                    §
     Plaintiff,                     §
                                    §     RELATOR TESFALEM ISSAC’S
v.                                  §     FIFTH AMENDED COMPLAINT
                                    §
LOCKHEED MARTIN,                    §
                                    §
     Defendant.                     §     JURY TRIAL DEMANDED


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        Plaintiff/Relator Tesfalem Issac (“Issac” or “Relator”) brings this action pursuant to the

False Claims Act, 31 U.S.C. §§ 3729–3732, and seeks to recover all damages, penalties, and other

remedies established by the False Claims Act on behalf of the United States of America and on his

own behalf. Relator would respectfully show the following:

                                       I.     INTRODUCTION

        1.      The Lockheed Martin C-130 family of aircraft is the United States military’s

principal tactical troop, cargo, and medevac transport aircraft and has been in service to the military

for more than 60 years. In 1997, Lockheed Martin developed the latest model of C-130 aircraft—

the C-130J Super Hercules. The C-130J is an improved version of its predecessor aircraft and

includes significant advances in avionics and performance.

        2.      Because the C-130J was designed and developed without any financial or

production assistance from the United States Government, Lockheed Martin owns all of the design

and engineering data for the C-130J and will not provide that information to the Government.

Therefore, the Government can only contract with Lockheed Martin for the construction and

maintenance of the C-130J, and Lockheed Martin writes the primary technical and manufacturing

standards for the aircraft.

        3.      In 2006, the Department of Defense (“DoD”) awarded Lockheed Martin its first

contract for the delivery of C-130J aircraft, contract no. FA8504-06-D-0001 (“2006 contract”).

The 2006 contract required Lockheed to refurbish and provide services for existing C-130Js,

including, but not limited to, logistics support, program management support, engineering

services, spares, and technical data in support of C-130J systems.

        4.      The 2006 contract was set to expire in 2016; however, Lockheed Martin and the

Government have modified and extended the contract on numerous occasions. The Government




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also awarded Lockheed a contract to construct new C130J aircraft in 2011 (“2011 contract”),

contract no. FA8625-11-C-6597, which also has been modified. Lockheed has continued to

manufacture C-130J aircraft at its facility located at Dobbins Air Reserve Base in Marietta,

Georgia.

       5.      Pursuant to the 2006 and 2011 contracts, Lockheed Martin agreed to comply with

the Federal Acquisition Regulation (“FAR”), which requires that the C-130J be manufactured in

compliance with the terms of the contract and that Lockheed Martin implement a quality control

system to prevent the delivery of defective aircraft to the Government. Relevant here, Lockheed

Martin agreed to manufacture integral fuel tanks located in the wings of the C-130J in compliance

with the Manufacturing Process Standard created by Lockheed Martin, which was incorporated

into its contracts with the Government.

                                              * * *

       6.      Relator Tesfalem Issac worked as a structural mechanic for Lockheed Martin for

more than a decade. In 2010, Relator was promoted and assigned to work on the team responsible

for sealing the integral fuel tanks on the C-130J aircraft, as required by the 2006 and 2011

contracts. The process is designed to be slow, meticulous, and precise to ensure that the fuel tanks

are sealed properly.

       7.      According to Lockheed Martin’s Manufacturing Process Standard for sealing fuel

tanks, an adhesion promoter must be applied slowly and in small amounts with an aerosol can,

paint brush, or cotton cloth until every part of the wing that will be sealed is covered. Then the

sealant must be applied between 30 minutes to eight hours after applying the promoter. If the

adhesion promoter is applied incorrectly, the sealant will not adhere to the wing, and there is a




                                                 2
substantial risk that fuel will leak from the plane. Even worse, when a fuel tank leaks, a plane could

have to make an emergency landing or the fuel tank could explode, causing the aircraft to crash.1

         8.       Shortly after Relator began working on integral fuel tanks, Lockheed Martin

decided to circumvent the careful manufacturing process specified in its contracts to increase its

output of C-130Js. To that end, Relator’s supervisor, David Crump, took paint spray guns from

the aircraft paint shop and told Relator and his crew to use the guns to spray the adhesion promoter

inside the wings where the fuel tanks are located.

         9.       Relator and his coworkers became sick from the noxious fumes released when the

promoter, PR-148, was applied with the paint spray guns, as they were spraying the chemical

inside of the aircraft’s wing where air circulation barely exists. PR-148 contains toluene, which is

a highly toxic volatile organic compound (VOC) that is extremely harmful to human health and

the environment. Employees were inhaling what amounts to industrial strength airplane glue every

second that they worked on the wing.

         10.      Worse still, Lockheed Martin failed to provide Relator and his coworkers with air-

fed respirators and other protective gear in accordance with federal regulations. In violation of the

OSHA Act, the terms of its contracts with the Government, and protocols required by the DoD,

Lockheed Martin forced employees to work in hazardous conditions and failed to provide

sufficient respirators and protective gear.

         11.      Relator began asking Mr. Crump and other Lockheed personnel about the

company’s use of the paint spray gun method and practice of leaving adhesion promoter on the

aircraft for more than eight hours, sometimes for days, without applying any sealant— both

complete and total deviations from the Manufacturing Process Standard incorporated into the


1
  For example, the crash of flight TWA-800 in July 1996 was caused by an electrical spark within an area of the plane
that had filled with aviation fuel vapor.


                                                         3
contracts. Relator repeatedly told Mr. Crump and other personnel that he and other employees

were getting sick from the high level of fumes produced by using a paint spray gun. Lockheed

Martin did not change its practice, however, and management continued to require the mechanics

to use paint spray guns.

        12.     Frustrated by Lockheed Martin’s continued use of the spray guns, Relator and other

employees contacted OSHA directly in 2016 and complained that the spraying of the promotor

was making employees sick. Relator was told that OSHA would conduct an air quality

test. Approximately two days before the OSHA test, Lockheed management took preemptive

measures to ensure a successful outcome by changing the spray gun nozzle aperture to a larger

size. They also reduced the paint gun air pressure, causing the spray gun to become a high volume-

low pressure (HVLP) apparatus. The result of this change was a dramatic reduction in the

atomization of PR-148 and toluene. Through a combination of aperture enlargement and lower air

pressure, when the PR-148 was applied during the OSHA test, less toluene VOCs were available

to impregnate the surrounding air. In other words, Lockheed concealed its environmentally unsafe

practices for the purpose of misleading OSHA and manipulating the air quality results.

        13.     The OSHA inspectors removed the sensor after the air quality testing, and a few

days later, Lockheed management changed the spray gun nozzle apertures back to the original

sizes, which used less of the promotor but aerosolized much more of the chemical in the work area,

resulting in more of the product being ingested by the employees. They also increased the air

pressure of the spray gun.

        14.     Lockheed Martin has intentionally disregarded the manufacturing standards for

sealing the integral fuel tanks for C-130J aircraft, and its conduct is in clear violation of the Federal

Acquisition Regulation, health and environmental regulations, and the terms of its contracts with




                                                   4
the Government. In fact, On July 17, 2018, DoD personnel inspected the Lockheed Martin facility

and caused the paint spray guns to be tagged as out of compliance with the Manufacturing Process

Standard for sealing C-130 integral fuel tanks:




See Exhibit 7 (Photographs of “stop work” tags, noting that use of paint spray guns was out of

compliance with the Manufacturing Process Standard for sealing C-130 integral fuel tanks); see

also Exhibit 1 (Manufacturing Process Standard).

         15.      Lastly, Lockheed has cheated the Government by bidding the contract as if

promoter would be applied using one of three approved methods – aerosol can2, soft bristle brush,


2
 An aerosol can is a dispenser that holds a substance under pressure and releases it as a fine spray. For example, some
brands of hair spray are dispensed using an aerosol can. A paint spray gun, on the other hand, uses a larger nozzle and



                                                          5
or clean cloth. When promoter is applied properly, it can take around eighty (80) hours to complete

each fuel cell. Spraying promoter on with a spray gun, however, only takes around an hour.

Lockheed bid the contract and billed the Government as if the labor would require many more

hours of labor per fuel cell than it actually took.

        16.      Lockheed Martin’s misconduct has clearly put at risk the lives of its employees and

hundreds of thousands of people serving in the United States military, as well as caused damage

to the environment. It has also grossly overcharged for labor, and the United States has suffered

financial harm as a result.

                                      II.      JURISDICTION AND VENUE

        17.      Jurisdiction and venue are proper in the Northern District of Georgia pursuant to

the False Claims Act (31 U.S.C. §§ 3729–33), because Relator’s claims seek remedies on behalf

of the United States for multiple violations of 31 U.S.C. § 3729, some of which occurred in the

Northern District of Georgia. Defendant engages in business in the Northern District of Georgia

and is subject to general and specific personal jurisdiction pursuant to 31 U.S.C. § 3732(a) in that

the claims for relief in this action are brought on behalf of the United States for multiple violations

of 31 U.S.C. § 3729.

        18.      Lockheed manufactures the C-130J aircraft and performs the work required by the

2006 and 2011 DoD contracts at its facility located at Dobbins Air Reserve Base in Marietta,

Georgia. Relator worked at Dobbins Air Reserve Base and performed work required by both

contracts, and events giving rise to this case took place there. Accordingly, venue is proper in the

Northern District of Georgia.




releases much more of the substance at once. See, e.g., images 10 and 11 supra (paint spray guns used by Lockheed
Martin employees).


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                                       III.      INTRODUCTION TO RELATOR

A.       Background on Relator Tesfalem Issac

         19.      Relator Tesfalem Issac has fourteen years of experience working as a structural

mechanic for Lockheed Martin and more than a decade of experience working on the C-130J Super

Hercules aircraft. Prior to July 2018, Mr. Issac worked on C-130J aircrafts as a tank sealer.3 He is

intimately familiar with the rules, requirements, and technical procedures for manufacturing C-

130J aircraft.

         20.      Lockheed forced Relator and his coworkers to work in a hazardous and unsafe

environment, and Relator suffered multiple health problems as a result. Relator complained about

the unsafe work conditions, but his complaints were never resolved, and his health continues to

decline. Lockheed terminated him in November 2018 and told him, ironically, that it was because

his health had worsened to the point that it claimed it could not place Relator in a suitable position.

Relator’s medical conditions were caused by Lockheed’s use of an unsafe and prohibited

manufacturing method, in violation of its contracts with the United States. Relator lost his health

insurance when Lockheed terminated him, and he has been financially unable to seek treatment

for his medical conditions, causing his health to worsen.

B.       Original Source and Disclosures

         21.      There are no bars to recovery under 31 U.S.C. § 3730(e), or in the alternative,

Relator is an original source as defined therein. Relator has direct and independent knowledge of

the information on which his allegations are based. To the extent that any allegations or

transactions herein have been publicly disclosed, Relator has knowledge that is independent of and



3
  In July 2018, after filing this suit in March 2018, Relator was moved from the tank sealing area to a separate building.
His job responsibilities devolved from skilled labor to menial tasks, such as fixing shelves, until Lockheed terminated
his employment in November 2018 in retaliation for his repeated complaints about Lockheed’s disregard of safety and
the Manufacturing Process Standard.


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materially adds to any publicly disclosed allegations or transactions and provided this information

to the United States prior to filing a complaint by submitting a pre-filing disclosure statement on

March 15, 2018. Relator has provided the United States with multiple supplemental disclosure

statements since the filing of his Original Complaint.

       22.     As required pursuant to 31 U.S.C. § 3730(b), Relator submitted an original

disclosure statement to the Attorney General of the United States and the United States Attorney

for the Northern District of Oklahoma contemporaneously with the service of his Original

Complaint.

                                 IV.     INTRODUCTION TO DEFENDANT

       23.     Defendant Lockheed Martin Corporation is a Maryland corporation with

headquarters in Bethesda, Maryland. Lockheed is the world’s largest defense contractor and

specializes in global security, aerospace, and information technology.

                            V.         FEDERAL ACQUISITION REGULATION

A.     Overview

       24.     The Federal Acquisition Regulation (“FAR”) is a system of regulations jointly

issued by the Department of Defense, the U.S. General Services Administration, and the National

Aeronautics and Space Administration for use in acquiring goods and services in a uniform manner

for Government contracts. FAR is codified in Title 48 of the United States Code of Federal

Regulations.

       25.     The Defense Federal Acquisition Regulation Supplement (“DFARS”) and the Air

Force Federal Acquisition Regulation Supplement (“AFFARS”) are systems of regulations

administered by the Department of Defense for the purpose of implementing and supplementing

the FAR. They establish delegations of FAR authorities, deviations from FAR requirements, and

DoD-wide policies and should be read in conjunction with the primary set of rules in FAR.


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B.     Part 46 – Quality Control

       26.     FAR places the ultimate burden of implementing a quality control system that

ensures that products and services “acquired under Government contract conform to the contract’s

quality and quantity requirements” on the Government contractor. 48 C.F.R § 46.000. Compliance

with contract requirements is a key part of the quality control process.

       27.     Notably, FAR Part 46.105(a) explains that the Government contractor is

responsible for carrying out its obligations under the contract by controlling the quality of the

products or services provided and only providing to the Government products and services that

conform to the contract requirements. See 48 C.F.R. § 46.105(a).

       28.     FAR’s contract compliance and quality control requirements are compulsory, and

the Government typically does not inspect the services and/or products that it acquires from

contractors. Instead, the Government relies on the contractor to accomplish all inspection and

testing needed to ensure that the products and/or services provided to the Government conform to

the applicable contract. See 48 C.F.R. § 46.202-2(a). Indeed, when the Government acquires

commercial items, such as aircraft, FAR expressly provides that “the Government shall rely on

contractors’ existing quality assurance systems as a substitute for Government inspection and

testing before tender or acceptance unless customary market practices for the commercial item

being acquired include any in-process inspection” by the Government. 48 C.F.R. § 46.202-1.

       29.     Furthermore, when the contract at issue is a fixed-price contract—like the 2011

contract—the contract must include a provision expressly providing the minimum acceptable level

of quality assurance. See 48 C.F.R. § 46.302.




                                                 9
C.     Part 52 – Allowability of Costs

       30.     Federal procurement contracts may incorporate by reference the standardized

contract provisions found in Part 52 of the FAR. Part 52 governs the costs and standards that apply

to a contractor’s invoice to the United States for charges associated with its performance. Section

52.216-7, in particular, requires the contractor to submit invoices to the Government subject to

allowability of costs in accordance with Subpart 31.2. 48 C.F.R. § 52.216-7(a)(1). Under Subpart

31.201-2, a cost is allowable, in relevant part, only if it is (1) reasonable and (2) complies with the

terms of the contract. 48 C.F.R. § 31.201-2(a). Payment by the United States may only be made

upon the receipt of a proper invoice and satisfactory contract performance. See 48 C.F.R. §

32.905(a).

       31.     Section 52.246 requires a contractor to have an inspection system that is acceptable

to the Government and maintain inspection records. See 48 C.F.R. § 52.246-2(b). The Government

must have access to the contractor’s inspection records and may conduct inspections and tests

during the manufacturing process. See 48 C.F.R. § 52.246-2(c). Additionally, the Government has

the right to reject or require correction of nonconforming products. See 48 C.F.R. § 52.246-2(f).

If the contractor fails to remove or correct the nonconforming products promptly, the Government

has the right to remove or correct the products and charge the cost to the contractor or terminate

the contract. See 48 C.F.R. § 52.246-2(h).

D.     Department of Defense Test Method Standard (“The Standard”)

       32.     In 1996, the Department of Defense (DoD) underscored the importance of FAR’s

quality control requirement by adopting MIL-STD-1916, also referred to as “the Standard.” See

exhibit 18 (DoD Test Method Standard, publication MIL-STD-1916). The Standard emphasizes

the care that a defense contractor must exercise when supplying goods and services to the

Government and the need for the contractor to implement efficient and effective quality control


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and procedures to prevent defects. The Standard also emphasizes that even if there are quality

control systems in place, the system does not relieve the contractor from ensuring that the product

and/or services provided to the Government comply with the applicable contract requirements.

Relevant here, the Standard provides:

           1.4 Product requirements. The contractor is required to submit product that meets
           all contract and specification requirements. The application of the quality plans or
           procedures of this standard does not relieve the contractor of responsibility for
           meeting all contract product requirements. The contractor’s quality system,
           including manufacturing processes and quality control measures, will be
           established and operated to consistently produce products that meet all
           requirements. Absence of any inspection or process control requirement in the
           contract does not relieve the contractor of responsibility for assuring that all
           products or supplies submitted to the Government for acceptance conform to all
           requirements of the contract.
           4.3 Disposition of nonconforming product. All units of product found to be
           nonconforming by the contractor shall be removed and kept apart from the flow of
           production or otherwise identified or segregated to preclude submission to the
           Government. The contractor may rework or repair these units unless the contract
           excludes such activities. Corrected product shall be screened by the contractor and
           resubmitted to the Government apart from the regular flow of the product.
Department of Defense, Dep’t of Defense Test Method Standard: DOD Preferred Methods for

Acceptance of Product, MIL-STD-1916 (1996) (emphasis added).4

E.         FAR Mandatory Disclosure Requirements

           33.      FAR requires Government contractors to disclose when there is evidence that

regulations have been violated. See 48 C.F.R. §52.203-13. To be effective, the disclosure must

specifically state that it is being made in accordance with FAR’s mandatory disclosure provisions

and that the contractor has credible evidence that an offense has occurred subject to the mandatory

disclosure provisions. Id. Also, the disclosure must occur before an investigation and within thirty




4
    Available at http://www.variation.com/files/standards/milstd1916.pdf.


                                                          11
days of the putative violation in order to take advantage of the provision in the FCA that rewards

timely self-disclosures with a limit of double rather than treble damages.

F.     Notification of Potential Safety Issues (48 C.F.R. § 252.246-7003)

       34.      Contractors must provide notification of “all nonconformances or deficiencies that

may result in a safety impact for systems, or subsystems, assemblies, subassemblies, or parts

integral to a system, acquired by or serviced for the Government.” See 48 C.F.R. § 252.246-7003.

Specifically, contractors must “notify the Administrative Contracting Officer (ACO) and the

Procuring Contracting Officer (PCO) as soon as practicable, but not later than 72 hours, after

discovering or acquiring credible information concerning nonconformances and deficiencies” and

should “provide a written notification to the ACO and the PCO within 5 working days that includes

(i) A summary of the defect or nonconformance; (ii) A chronology of pertinent events; (iii) The

identification of potentially affected items to the extent known at the time of notification; (iv) A

point of contact to coordinate problem analysis and resolution; and (v) Any other relevant

information.” Id.

G.     Health and Safety on Government Installations (AFFARS 5352.223-9001)

       35.      The following clause must be inserted in Air Force solicitations and contracts:

             (a) In performing work under this contract on a Government installation, the
             contractor shall:

                (1) Take all reasonable steps and precautions to prevent accidents
                    and preserve the health and safety of contractor and Government
                    personnel performing or in any way coming in contact with the
                    performance of this contract; and

                (2) Take such additional immediate precautions as the contracting
                    officer may reasonably require for health and safety purposes.

             (b) The contracting officer may, by written order, direct Air Force Occupational
             Safety and Health (AFOSH) Standards and/or health/safety standards as may
             be required in the performance of this contract and any adjustments resulting



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             from such direction will be in accordance with the Changes clause of this
             contract.

             (c) Any violation of these health and safety rules and requirements, unless
             promptly corrected as directed by the contracting officer, shall be grounds for
             termination of this contract in accordance with the Default clause of this
             contract.

See AFFARS § 5352.223-9001.

                             VI.     HEALTH AND SAFETY REGULATIONS

       36.      Most DoD contracts include an OSHA compliance provision, which requires the

contractor to certify that it will adhere to all OSHA health and safety regulations in the performance

of the contract. Specifically, DoD contractors must adhere to the provisions of the Occupational

Safety and Health Act of 1970 (“OSHA Act”), which require the employer to assume responsibility

for its employees’ safety and health and perform in accordance with an applicable accident

prevention program pursuant to state and federal requirements. See 29 U.S.C. § 654(a).

       37.      Requirements regarding the relationship between the Government and its

contractors are also set forth in multiple regulations, reports, DoD contracts, and DoD manuals,

including the sources discussed in this section.

A.     Occupational Safety and Health Act of 1970

       38.      Under the OSHA Act, all employers must comply with OSHA standards and must

exercise reasonable diligence to determine whether violations of those standards exist. See 29

U.S.C. § 654(a).

       39.      The OSHA Act makes clear that “employers have a duty under the law to train

employees regarding work hazards and to furnish employees with suitable protection from such

dangers.” 29 U.S.C. § 654(a). A contractor also must ensure that its personnel are provided proper




                                                   13
OSHA training, safety equipment, and physical examinations under the OSHA “general duty”

clause. See 29 U.S.C. § 654(a)(1) and 652(5).

       40.     Contractors must provide a respirator to an employee when such equipment is

necessary to protect the employee’s health. See 29 C.F.R. 1910.134(a)(2). Employers are also

required “to develop and implement a written respiratory protection program with required

worksite-specific procedures and elements for required respirator use” and the “program must be

administered by a suitably trained program administrator.” 29 C.F.R. § 1910.134(c).

       41.     Employers are responsible “for requiring the wearing of appropriate personal

protective equipment in all operations where there is an exposure to hazardous conditions or where

this part indicates the need for using such equipment to reduce the hazards to the employees.” 29

C.F.R. § 1926.28(a). In confined spaces, tanks, or compartments, airline (or supplied-air)

respirators must be used during spraying operations with paints mixed with toxic vehicles or

solvents. See 29 C.F.R. § 1915.35(a).

       42.     Respirators are also required, along with mechanical ventilation, regardless of

whether the work area is large and well-ventilated. See 29 C.F.R. § 1915.35(a)(1)(i)-

(iii) and (b)(1)). Filter respirators are required during brush applications of paints with toxic

solvents in confined spaces or in other areas where there is limited ventilation. See 29 C.F.R. §

1915.35(a)(2). Workers entering such compartments for a limited time must also be protected by

filter respirators. See 29 C.F.R. § 1915.35(b)(13). Either natural ventilation or mechanical exhaust

ventilation should be used to remove the vapor at the source and to dilute the concentration of

vapors in the working space to a concentration which is safe for the entire work period. See 29

C.F.R. § 1915.32(a)(2).

       43.     Moreover, pursuant to the OSHA Act:




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             “Any standard promulgated under this subsection shall prescribe the use of
             labels or other appropriate forms of warning as are necessary to insure that
             employees are apprised of all hazards to which they are exposed, relevant
             symptoms and appropriate emergency treatment, and proper conditions
             and precautions of safe use or exposure. Where appropriate, such standard
             shall also prescribe suitable protective equipment and control or
             technological procedures to be used in connection with such hazards and
             shall provide for monitoring or measuring employee exposure at such
             locations and intervals, and in such manner as may be necessary for the
             protection of employees. In addition, where appropriate, any such standard
             shall prescribe the type and frequency of medical examinations or other tests
             which shall be made available, by the employer or at his cost, to employees
             exposed to such hazards in order to most effectively determine whether the
             health of such employees is adversely affected by such exposure.”

29 U.S.C. § 655(b)(7) (emphasis added).

       44.      The OSHA Act contains multiple regulations specifying the safety precautions

contractors must take when doing business with the Government. For example, contractors must

properly ventilate areas in which employees are using spray products that emit dangerous fumes.

See 29 C.F.R. § 1910.107(d). Employers must also provide sufficient air circulation by supplying

“clean fresh air, free of contamination from adjacent industrial exhaust systems, chimneys, stacks,

or vents … to a spray booth or room in quantities equal to the volume of air exhausted through the

spray booth.” See 29 C.F.R. § 1910.94(c)(7)(i).

       45.      Furthermore, the OSHA Act requires contractors to comply with the safety and

health standards set forth in 41 C.F.R., parts 50-204, including any matters incorporated by

reference therein. See 29 C.F.R. § 1925.2. Pursuant to 41 C.F.R. § 50-204.50(a)(1), “[e]xposures

by inhalation, ingestion, skin absorption, or contact to any material or substance (i) at a

concentration above those specified in the ‘Threshold Limit Values of Airborne Contaminants for

1968’ of the American Conference of Governmental Industrial Hygienists, except for the ANSI

Standards listed in Table I of this section and except for the values of mineral dusts listed in Table




                                                  15
II of this section, and (ii) concentrations above those specified in Tables I and II of this section,

shall be avoided, or protective equipment shall be provided and used.”

B.     2012 DoD Best Practices Manual Regarding Contractor Safety

       46.      The 2012 DoD Best Practices manual for optimizing contractor safety clarifies and

discusses health and safety regulations pertaining to contracts with the Government. See U.S.

Dep’t of Def., Best Practices for Optimizing DoD Contractor Safety and Occupational Health

Program Performance: A Guide for Contracting, Legal and Safety and Occupational Health

Professionals 19. DoD Version 1.0. (2012). For example, the manual states:

             “The contractor is responsible for an employee’s safety and health and
             shall comply with OSHA regulations and perform in accordance with an
             applicable accident prevention program that complies with State and
             Federal requirements. The contractor should have a safety board posted in a
             common area that provides points of contact for safety and health issues as well
             as Federal posters required by OSHA. Applicable regulations include 29
             C.F.R. Part 1910, Occupational Safety and Health Standards, 29 C.F.R.
             Part 1925, Safety and Health Standards for Federal Service Contracts. The
             contractor should assess the workplace to determine if hazards are present, or
             are likely to be present, which necessitate the use of personal protective
             equipment (PPE).

             The contractor should verify that the required workplace hazard assessment has
             been performed through a written certification that identifies the workplace
             evaluated; the person certifying that the evaluation has been performed; the
             date(s) of the hazard assessment; and, identifies the document as a certification
             of hazard assessment.”

Id. at 4-5. (emphasis added).

       47.      The manual further elaborates on a contractor’s safety and occupational health

(SOH) responsibilities to its employees, which include ensuring “compliance with all applicable

Federal, state and local codes and standards, including SOH standards, as well as any additional

specific requirements invoked by contract.” Id. at 9.




                                                  16
       48.     With regard to United States Air Force service and commercial contracts, DoD’s

manual states that the contracting officer should include AFFARS Clause 5352.223-9001 if

applicable, and if it is not applicable, the contracting officer must ensure that adequate health and

safety requirements are identified in the Performance Work Statement (PWS). Id. at 24.

                      VII.    ENVIRONMENTAL STATUTES AND REGULATIONS

A.     Contract Provisions Concerning Environmental Health

       49.     The Air Force expects contractors to “comply with all federal, state, and local

environmental laws and regulations (or in overseas areas, with the laws and regulations of the

particular country and requirements of any Status of Forces Agreements [SOFAs], treaties, etc.,

that may apply) in the same way as their Air Force customer.” Fact Sheet: Environmental Issues

in Contracting, PRO-ACT (May 1999), https://p2infohouse.org/ref/07/06050.htm.

       50.     The Air Force environmental program adheres to the Environmental Management

System (EMS) framework and its Plan, Do, Check, Act cycle for ensuring mission success. The

following provide guidance on how environmental programs should be established, implemented,

and maintained to operate under the EMS framework: Executive Order (EO) 13693, Planning for

Federal Sustainability in the Next Decade, U.S. Department of Defense Instruction (DoDI)

4715.17, Environmental Management Systems, AFI 32-7001, Environmental Management, and

international standard, ISO 14001:2004.

       51.     Principally every Air Force contract will contain a provision that all contractors

performing work on said contract must adhere to the Clean Air Act, 42 U.S.C. §§ 7401 et seq., and

other environmental regulations.




                                                 17
B.     Clean Air Act

       1.         Background

       52.        The Clean Air Act (CAA) is the comprehensive federal law that regulates air

emissions from stationary and mobile sources. See 42 U.S.C. §§ 7401 et seq. Among other things,

this law authorizes the EPA to establish National Ambient Air Quality Standards (NAAQS) to

protect public health and public welfare and to regulate emissions of hazardous air pollutants.

Summary of the Clean Air Act, EPA, https://www.epa.gov/laws-regulations/summary-clean-air-

act (last updated Aug. 6, 2020).

       53.        “The Clean Air Act (CAA) requires the EPA to regulate emissions of toxic air

pollutants from a published list of industrial sources referred to as ‘source categories.’ Toxic air

pollutants include mercury, polychlorinated biphenyls (PCBs), benzene and volatile organic

compounds          (VOCs).”       Regulatory    Information       by     Topic:      Air,     EPA,

https://www.epa.gov/regulatory-information-topic/regulatory-information-topic-air, (last updated

Jan. 28, 2021).

       2.         Regulations Regarding Volatile Organic Compounds

       54.        The EPA classifies toluene, which is contained within the adhesion promoter

utilized by Lockheed Martin, PR-148, as a volatile organic compound (VOC). VOCs are defined

as any compound of carbon, excluding carbon monoxide, carbon dioxide, carbonic acid, metallic

carbides or carbonates and ammonium carbonate, which participates in atmospheric

photochemical reactions, except those designated by EPA as having negligible photochemical

reactivity. 40 C.F.R. § 51.100.

       55.        VOCs are “compounds that have a high vapor pressure and low water solubility.

Many VOCs are human-made chemicals that are used and produced in the manufacture of paints,




                                                18
pharmaceuticals, and refrigerants. VOCs typically are industrial solvents, such as

trichloroethylene; fuel oxygenates, such as methyl tert-butyl ether (MTBE); or by-products

produced by chlorination in water treatment, such as chloroform. VOCs are often components of

petroleum fuels, hydraulic fluids, paint thinners, and dry-cleaning agents. VOCs are common

ground-water     contaminants.”     What     are     volatile   organic     compounds,      EPA,

https://www.epa.gov/indoor-air-quality-iaq/what-are-volatile-organic-compounds-vocs          (last

updated Aug. 1, 2019).

       56.     “Examples of toxic air pollutants include benzene, perchloroethylene, and

methylene chloride. Examples of other listed air toxics include dioxin, asbestos, toluene, and

metals such as cadmium, mercury, chromium, and lead compounds.” What are Hazardous Air

Pollutants, EPA, https://www.epa.gov/haps/what-are-hazardous-air-pollutants (last updated Feb.

9, 2017) (emphasis added).

       57.     “Emissions of VOCs to the outdoors are regulated by EPA mostly to prevent the

formation of ozone, a constituent of photochemical smog.” Technical Overview of Volatile

Organic Compounds, EPA, https://www.epa.gov/indoor-air-quality-iaq/technical-overview-

volatile-organic-compounds, (last updated Apr. 12, 2017).

C.     FAR Provisions Related to Environmental Safety

       58.     Air Force contracts typically require compliance with multiple FAR provisions

related to environmental safety. For example, FAR 52.223-13 requires contractors to certify the

following: “As the owner or operator of facilities that will be used in the performance of this

contract that are subject to the filing and reporting requirements described in section 313 of the

Emergency Planning and Community Right-to-Know Act of 1986 (EPCRA) (42 U.S.C. 11023)

and section 6607 of the Pollution Prevention Act of 1990 (PPA) (42 U.S.C. 13106), the offeror




                                               19
will file and continue to file for such facilities for the life of the contract the Toxic Chemical

Release Inventory Form (Form R) as described in sections 313(a) and (g) of EPCRA and section

6607 of PPA.” 48 C.F.R. § 52.223-13(b).

           59.     Furthermore, FAR 52.223-19 requires contracting officers to insert the following

clause into contracts for contractor operation of Government-owned or leased facilities located in

the United States: “The Contractor’s work under this contract shall conform with all operational

controls identified in the applicable agency or facility Environmental Management Systems and

provide monitoring and measurement information necessary for the Government to address

environmental performance relative to the goals of the Environmental Management Systems.” 48

C.F.R. § 52.223-19.

                      VIII. LOCKHEED MARTIN’S C-130J SUPER HERCULES PROJECT

A.         Overview

           60.     The Lockheed Martin C-130, pictured below, has been in production since 1954

and is the United States military’s principal method of transporting troops and equipment into

hostile areas:




                             Image 1: C-130, also referred to as the “C-130 Hercules.”5

           61.     Referred to as the “Super Hercules,” the C-130J is the latest model of the C-130

family of aircraft and entered production in 1997. The C-130J is the first major combat weapons



5
    https://fas.org/sgp/crs/weapons/R43618.pdf


                                                        20
system platform commercially procured by the DoD. Visually, the C-130J resembles the C-130;

however, the C-130J includes significant advances in avionics and performance. Notably, the

aircraft was built to enhance range, cruise ceiling time to climb, and speed and airfield

requirements, as well as improve the speed at which the aircraft can be refueled. The C-130J first

entered active service with the United States Air Force in April 2004 and was first deployed in

December 2004.




                             Image 2: C-130J Super Hercules design enhancements.6

           62.     All design and engineering data for the C-130J systems, parts, and components are

proprietary to Lockheed Martin. The Government requested that Lockheed Martin provide it with

the information necessary to maintain the C-130J, but Lockheed Martin declined the request. As

a result, the Government can only contract with Lockheed Martin for the construction and

maintenance of the C-130J, and the primary technical and manufacturing standards for the C-130J

aircraft are drafted by Lockheed Martin.




6
    https://www.lockheedmartin.com/us/products/c130.html.


                                                       21
B.     C-130J Contracts

       63.     In 2006, Lockheed was awarded a $31,597,328 delivery order for C-130Js by the

DoD pursuant to contract no. FA8504-06-D-0001. The 2006 contract required Lockheed to

refurbish and provide services for existing C-130Js, including, but not limited to, logistics support,

program management support, engineering services, spares, and technical data in support of C-

130J systems. The contract is a sole source, cost plus/fixed fee contract with a period of

performance beginning on October 13, 2006.

       64.     The work for the contract at issue is conducted at Dobbins Air Reserve Base in

Marietta, Georgia. The program manager for contract no. FA8504-06-D-0001 is Robert Lasseigne,

and the contracting officer for the C-130J procurement is LaToya Brown. The quality assurance

specialist is Anthony Paul Daigle.

       65.     The original C-130J project was expected to be completed in 2016; however, the

contract has been modified multiple times—contract nos. FA8504-16-D-0001 ($71,383,146.00)

and FA8504-17-F-0047 ($74,695,578)—and Lockheed has continued its work on the C-130J.

       66.     The 2011 contracts for the construction of new C-130J aircraft are contract nos.

FA8625-11-C-6597, FA8625‐14‐C‐6450, and FA8625-16-D-6458. The follow-on contracts are

firm fixed price contracts, and the total amount of funds allocated by the Government for these

contracts exceeds $1,000,000,000.

C.     Claim Submission and Payment

       67.     The 2006 contract is a sole-source/cost-plus contract. Under cost-plus contracts,

DoD contractors bill the Government on a regular schedule (usually every two weeks) for all costs

incurred during that period. Specifically, FAR 52.216-7, Allowable Cost and Payment, states,

“[t]he Government will make payments to the Contractor when requested as work progresses, but

(except for small business concerns) not more often than once every 2 weeks, in amounts


                                                 22
determined      to    be     allowable      by     the Contracting      Officer in     accordance       with

Federal Acquisition Regulation (FAR).” Invoices are submitted in the form of a public voucher

via the Wide Area Workflow (“WAWF”) system.7

        68.     Vouchers submitted to the Government include the following express certification:

“I certify that all payments requested for the appropriate purposes and in accordance with the

agreements set forth in the contract.” Contractors submit invoices via electronic means about every

two weeks, and this certification appears on every electronic submission, not via some automatic

population process, but because it was written in. This express certification may form the basis for

falsity. See, e.g., U.S. ex rel. Howard v. Lockheed Martin Corp., 14 F. Supp. 3d 982, 988 (S.D.

Ohio 2014) (“Vouchers for payment which Lockheed submitted to the Government contained a

certification that the costs were applicable, allocable, and reasonable, a standard consistent with

FAR 31”).

        69.     The 2011 contract is a firm fixed-price contract. Under fixed-price contracts, DoD

contractors bill the Government via WAWF on a schedule agreed to by the Contracting Officer

via the progress payment method. See FAR 52.232-16, Progress Payments, which states that the

“Government will make progress payments to the Contractor when requested as work progresses,

but not more frequently than monthly.” Progress payments are interim payments made based upon

completion of certain work goals (milestones) or the expenditure of funds (expenses). See 48

C.F.R. § 52.232-16.

        70.     The United States has paid Lockheed roughly $325 million on the 2006 contract

and approximately $640.1 million dollars on contract FA8625-11-C-6597 to date.



7
 The WAWF system is a secure, web-based system for electronic invoicing, receipt, and acceptance. WAWF allows
Government vendors to electronically submit and track invoices and receipt/acceptance documents and allows
government personnel to process those invoices in a real-time, paperless environment.


                                                     23
D.     Overview: C-130J Integral Fuel Tanks

       71.     Sealing fuel cells involves a three-step process: 1) cleaning the fuel cell; 2) applying

an adhesion promotor necessary to ensure an adequate bond with the sealant; and 3) applying the

sealant to the fuel cell. The contracts further require that the adhesion promoter be applied in one

of three ways: 1) aerosol can; 2) soft bristle brush; or 3) clean cloth.

       72.     Aircraft typically use three types of fuel tanks: integral, rigid removable, and

bladder. The fuel storage systems for large transport aircraft—like the C-130J—use all three types

of fuel tanks. The rigid removable (typically made of metal) and bladder (typically made of

rubber) fuel tanks are detachable and can be installed and removed from an aircraft.




       Image 3: Example of Rigid Removable Fuel Tank      Image 4: Example of Bladder Fuel Tank

       73.     The integral fuel tanks, unlike the rigid removable and bladder tanks, are not

detachable, because they are built directly into the C-130J during the manufacturing process. To

build the integral fuel tanks, compartments are formed within the wings of the aircraft. The

compartments (three in each wing) are separated by internal diaphragms. Then, to ensure that the

fuel tanks do not leak, the fuel tank compartments are sealed, particularly the diaphragms, wing

“skins,” and skin joints that form the tank:




                                                  24
                     Image 5: Wing of C-130J with Compartments for Integral Fuel Tanks

       74.     The integral fuel tanks are part of the wings and cannot be detached for service or

inspection. Thus, the process used to manufacture the six tanks must be precise and in conformance

with the contract.




      Image 6: Completed C-130J and Six Integral Fuel Tanks Inside Wings (red, yellow, and green)




                                                    25
E.      Manufacturing Process Standard: C-130J Integral Fuel Tanks

        75.     Lockheed’s contracts with the Department of Defense require that C-130Js are

manufactured in accordance with the Statement of Work contained in the contracts. The Statement

of Work, in turn, requires Lockheed to manufacture the C-130J in accordance with the Prime Item

Development Specification (“PIDS”) for the aircraft. Relevant here, the PIDS for the sealing of C-

130J integral fuel tanks is contained in the “Lockheed Martin Aeronautics Company

Manufacturing Process Standard,” which was drafted by Lockheed Martin. See Exhibit 1 at 30

(Lockheed Martin Aeronautics Company Manufacturing Process Standard Sealing C-130 Integral

Fuel tanks).

        76.     According to the Manufacturing Process Standard incorporated into the contracts,

there is a three-part process for sealing the integral fuel tanks of a C-130J. First, the interior of the

tank must be cleaned. The tank is vacuumed to remove “all dirt, chips, and other foreign material”

and spray cleaned with aqueous cleaner, a type of cleaner that uses water as its primary solvent as

opposed to chemicals. Id. at 30. The tank is then dried with 100% cotton cleaning rags. The process

is repeated until all surfaces of the tank are free of contamination. Id. at 31.

        77.     Second, adhesion promoter is applied to a small section of the fuel tank. The

application of the adhesion promoter is integral to the sealing process. If the promoter is applied

incorrectly, the integral fuel tank will not be sealed properly, and fuel will leak from the wings of

the aircraft. The adhesion promoter used by Lockheed Martin is PR-148, which is manufactured

by PPG Aerospace:




                                                   26
             Image 7: PPG Aerospace PR-148 adhesion promoter used at Lockheed Martin facilities

The promoter is blue, which serves as a “color code,” to ensure that the promoter has been applied

only to surfaces that will be sealed. Id. at 31-32. There are three methods by which adhesion

promoter may be applied: aerosol spray can, soft bristle brush using a pint-size bottle, and a clean

cloth saturated with adhesion promoter.

       78.      Third, after the promoter is applied to a small section of the fuel tank, it must then

be exposed to air for at least thirty (30) minutes, but no longer than eight (8) hours, before sealant

can be applied to the small section of fuel tank covered with the adhesion promoter. Id. at 32.

When sealant cannot be applied within eight hours of the application of adhesion promoter, the

fuel tank must be isolated within a confined space or covered with clean Kraft paper that is taped

down with masking tape.




                                         Image 8: Kraft paper


                                                  27
If the section of the fuel tank with the adhesion promoter is not properly protected, the promoter

must be removed, the section of tank re-cleaned, and the process for applying the promoter

restarted. Id. at 34.

        79.     Notably, the eight-hour time limit for applying sealant after the application of

adhesion promoter is required not only by Lockheed Martin’s Manufacturing Process Standard but

also the PPG Aerospace Technical Data. Exhibit 2 at 1 (Technical Data for PR-148 Adhesion

Promoter).

        80.     Fourth, once the tank is properly cleaned and the adhesion promoter correctly

applied to the section of fuel tank, the sealant is applied. Whether the sealant adheres to the tank

and effectively prevents fuel leakage depends largely on whether the adhesion promoter was

properly applied to the fuel tank. Sealing the fuel tanks on the aircraft is one of the most time-

consuming parts of manufacturing a C-130J.




                        Image 9: C-130J being maneuvered into an aircraft hangar by the
                               U.S. Air Force at Kandahar Airfield, Afghanistan.




                                                      28
F.       Lockheed Martin’s Certifications regarding the Manufacturing Process

         81.    Lockheed Martin’s contract and the FAR require that the aircraft be manufactured

according to the manufacturing standards specified in the contract, which include the

Manufacturing Process Standard for sealing C-130J integral fuel tanks. Furthermore, contracts

with the Government require contractors to comply with environmental regulations and the OSHA

Act, which requires employers to minimize hazards and provide sufficient protective gear to

employees.

         82.    When Lockheed Martin delivers a completed C-130J to the Government, it certifies

that the aircraft was manufactured in compliance with FAR, the OSHA Act, the Clean Air Act,

and environmental regulations, as well as all contract requirements and specifications, including,

but not limited to, the standards for sealing C-130J integral fuel tanks.

          IX.    LOCKHEED MARTIN’S DETRIMENTAL IMPACT ON THE ENVIRONMENT AND
                                      EMPLOYEE HEALTH

         83.    As detailed in the following section, Lockheed put the health of the environment

and its employees at risk by instructing employees to utilize a paint spray gun when applying PR-

148. This method caused increased and unsafe emissions of toluene, an incredibly toxic substance.

         84.    Toluene evaporates when exposed to air and quickly reacts with other chemicals. It

has acute and chronic toxicity on aquatic life. Toluene has also caused membrane damage to the

leaves     in   plants.    Toluene      (methylbenzene),     NAT’L      POLLUTANT    INVENTORY,

http://www.npi.gov.au/resource/toluene-methylbenzene, (last updated Mar. 1, 2019).

         85.    “Exposure to toluene may occur from breathing ambient or indoor air affected by

such sources. The central nervous system (CNS) is the primary target organ for toluene toxicity in

both humans and animals for acute (short-term) and chronic (long-term) exposures. CNS

dysfunction and narcosis have been frequently observed in humans acutely exposed to elevated



                                                 29
airborne levels of toluene; symptoms include fatigue, sleepiness, headaches, and nausea. CNS

depression has been reported to occur in chronic abusers exposed to high levels of toluene. Chronic

inhalation exposure of humans to toluene also causes irritation of the upper respiratory tract and

eyes,   sore     throat,   dizziness,    and    headache.”      Toluene,     EPA,     Apr.     1992,     at    1,

https://www.epa.gov/sites/production/files/2016-09/documents/toluene.pdf.

        86.      Symptoms of toluene overexposure also include ataxia, tremors, cerebral atrophy,

nystagmus       (involuntary      eye    movements),        and     impaired      speech,     hearing,        and

vision. Neurobehavioral effects have been observed in occupationally exposed workers. Toluene,

EPA,          July     2012,        at      2-3,       https://www.epa.gov/sites/production/files/2016-

09/documents/toluene.pdf.

        87.      “OSHA's exposure limits for toluene have been set to prevent effects of long-term

exposure on the nervous system, however, workers frequently experience symptoms of toluene

exposure in activities where exposures are lower than OSHA’s present exposure limits.” Toluene,

OSHA, https://www.osha.gov/toluene, (last visited Apr. 12, 2021).

        88.      For businesses categorized as “general industry,” the exposure limit for toluene is

200 ppm TWA8. See 29 CFR 1910.1000 Table Z-2. Also, exposures shall not exceed 300 ppm

(ceiling) with the following exception: exposures may exceed 300 ppm, but not more than 500

ppm (peak), for a single time period up to 10 minutes for any 8-hour shift. Id.

        89.      As detailed in the following section, Lockheed exposed its workers and the

environment to increased levels of toluene as a result of having employees use a paint spray gun

to apply adhesion promoter.




8
 The time weighted average (TWA) for chemical exposure is the average exposure to a contaminant to which workers
may be exposed without adverse effect during a typical workday.


                                                      30
       X.      LOCKHEED MARTIN’S FRAUD ON THE FEDERAL GOVERNMENT

A.     Relator’s Discovery of Lockheed Martin’s Fraud

       90.     Relator began working at Lockheed Martin as a structural mechanic in March 2004,

and he was assigned to the department that manufactures Lockheed Martin F-22 Raptor tactical

fighter aircraft. See Exhibit 3 at 3 (Relator’s Official Lockheed Martin Job History & Employee

ID Card). After the production of F-22s slowed in November 2005, Relator was transferred and

assigned to work on the Lockheed Martin C-5 Galaxy, a large military transport aircraft. Id. at 4.

       91.     In September 2006, Relator was transferred to work on Lockheed Martin’s C-130J

Super Hercules aircraft. He was promoted to senior structural mechanic and assigned to work on

the cockpit forward fuselage section of the aircraft. Relator was laid off in February 2007 because

of an economic downturn, but he was rehired in April 2008 to work again on the forward fuselage

section of the C-130J. On March 27, 2010, Relator was promoted again and assigned to work on

the team that seals C-130J integral fuel tanks.

       92.      Soon after Relator was assigned to work on the C-130J, Lockheed Martin decided

to increase its output of the aircraft. Relator’s supervisor, David Crump, took paint spray guns

from the aircraft paint shop—a BINKS Model 60-600 SG-2 PLUS and a BINKS Model 80-600

SG-2 PLUS (Exhibit 4, specifications for the BINKS 80-600)—and told Relator and his crew to

use the paint spray guns to apply adhesion promoter to the integral fuel tanks.




                                                  31
 Image 10: BINKS Model 60-600 SG-2 PLUS used to apply adhesion promoter at Lockheed Martin facilities




 Image 11: BINKS Model 80-600 SG-2 PLUS used to apply adhesion promoter at Lockheed Martin facilities

       93.     The paint spray gun was a much faster, but much more dangerous, method of

applying promoter. To seal the tanks, mechanics must climb a step ladder to reach inside the wings

of the aircraft. The crew members then use the paint spray guns to apply the adhesion promoter on

every section of the fuel tanks that will require sealant.




                                                  32
                                                                          Toxic fumes
                                                                          alarm.




                                                                             C-130J
                                                                              Wing




             Image 12: C-130J wing at Lockheed Martin facilities during fuel tank sealing process

       94.       The crew members use the paint spray gun in a confined area (the interior of the

wings) and, thus, are exposed to extremely toxic chemicals. See Exhibit 5 (Safety Data Sheet for

PR-148 Adhesion Promoter). The Safety Data Sheet (SDS) for the promoter states that it should

not be used indoors, much less in a confined space like an airplane wing. Id. at 2. The SDS further

states, “IF INHALED: Remove victim to fresh air and keep in rest position comfortable for

breathing.” Id. (emphasis in original). Moreover, repeated exposure to the promoter may cause

permanent injury to bodily organs. Id. at 11.


                                                     33
B.     Lockheed Subjected Employees to Hazardous Conditions for Profit

       95.     Shortly after Lockheed Martin implemented the paint spray gun method, Relator

and several of his crew became sick from the fumes caused by the release of significant amounts

of adhesion promoter into the air by the paint spray guns. In violation of the OSHA Act, the terms

of its contract with the Government, and DoD-required protocols, Lockheed Martin forced

employees to work in hazardous conditions and failed to provide sufficient respirators and

protective gear.

       96.     Lockheed’s practices also did not conform to the manufacturer’s approved

methods, which state that employees should be provided with suitable personal protective

equipment (PPE). The SDS for the promoter states, “Respirator selection must be based on known

or anticipated exposure levels, the hazards of the product and the safe working limits of the selected

respirator. If workers are exposed to concentrations above the exposure limit, they must use

appropriate, certified respirators. Use a properly fitted, air-purifying or air-fed respirator

complying with an approved standard if a risk assessment indicates this is necessary.” Exhibit

5 at 9 (emphasis added).

       97.     Lockheed should not have instructed its employees to use the promoter inside at

all, but to make matters worse, Lockheed only provided Relator and his coworkers with N-95

masks, and/or 3M full or half face masks with disposable air cartridges, which were woefully

inadequate, as they were ill-fitting and only filtered air through a few layers of fabric or cotton-

based batting. Lockheed should have given Relator and his coworkers a more complex respirator,

in which fresh air is delivered from a tank of compressed air to the interior of a mask that covers

the entire face. Furthermore, Lockheed only gave Relator and his coworkers light coveralls unless

there were going to be visitors in the building. If an OSHA inspector or other visitors were coming




                                                 34
on site, Lockheed gave its employees Tyvek suits. Even the Tyvek suits were inadequate, as they

were easily torn by the sharp edges of the metal inside the aircraft wing, leaving bare skin exposed

to the toluene in the adhesion promoter.

       98.      Relator and other employees were spraying the promoter inside the aircraft’s wing

where air circulation barely exists. When spraying this chemical on the plane, employees both

spraying the plane and in other parts of the facility were inhaling what amounts to industrial

strength airplane glue. Applying the chemical using this method will have long-term consequences

for Relator and his coworkers.

       99.      Notably, since he began sealing the C-130J aircraft, Relator has had the following

medical diagnoses related to applying the adhesion promoter using an improper method:

             o Early stages of liver cirrhosis

             o Hemochromatosis (iron overload in the blood)

             o Type-2 diabetes

             o Nasal cyst/tumor—surgery performed in April 2017

             o Chronic pain requiring two shoulder surgeries

             o Chronic headaches

             o Hearing loss—right ear

             o Vision loss—both eyes

             o Chronic hepatitis B infection

             o Mild neurocognitive disorder

Relator’s medical records support a direct linkage between his exposure to the chemicals in the

PR-148 adhesion promoter and these medical conditions, particularly his hemochromatosis,




                                                 35
chronic headaches, and chronic pain, with all contributing to a significant reduction in his quality

of life.

           100.   Other members of Relator’s crew also suffered devastating health consequences,

such as loss of the sense of smell. Relator complained to Mr. Crump about the fumes making the

crew sick and began asking Crump and other members of Lockheed Martin management about the

company’s deviation from Lockheed Martin’s own Manufacturing Process Standard. Relator was

given various unresponsive answers.

           101.   On one occasion, Relator was told by a supervisor that he misunderstood the

Manufacturing Process Standard and that a paint spray gun was an acceptable method of applying

adhesion promoter. On another occasion, Relator was told by Earl Pinkett, Lockheed’s

Environment, Safety, and Health (ESH) Manager, that Lockheed uses PPG’s PR-142 adhesion

promoter, not PR-148 adhesion promoter, and that PR-142 is the type of promoter that can be

applied using a paint spray gun. Relator then checked the label on a bottle of adhesion promoter

that was being used with the paint spray guns. The label identified the product as PR-148.

Relator’s supervisor had told him the incorrect type of PPG adhesion promoter, PR-142. PR-142

was not used for the manufacturing of a C-130J but used in the field to repair C-130Js.

           102.   Relator also began questioning Lockheed Martin’s practice of leaving adhesion

promoter on the aircraft, uncovered, for more than eight hours before applying sealant to the fuel

tanks. This is a clear violation of the Manufacturing Process Standard that prohibits the application

of sealant if adhesion promoter has been left unprotected on a fuel tank for more than eight hours.

Relator was either disregarded or given a nonsensical explanation for Lockheed Martin’s conduct,

and the practice continued.




                                                 36
C.         Lockheed Martin Concealed its Unsafe Working Conditions From OSHA

           103.   Frustrated by Lockheed Martin’s lack of action, Relator and other employees

contacted OSHA in 2016 and complained that employees were being overexposed to fumes while

spraying PR-148 adhesion promoter and that it was making employees sick. OSHA received a

report that on August 30, 2016, a Lockheed employee was standing on top of a C-130J wing when

his eyes rolled back in his head, and he appeared to lose consciousness. Another employee

witnessed him fall approximately two feet from the wing stand, resulting in injuries to the

employee’s face and throat that required surgery. Relator also submitted a complaint to OSHA

about the fumes on October 31, 2016, which was assigned case number 1121899. See exhibit 10

(November 3, 2016 e-mail from OSHA to Relator).

           104.   Relator was told that OSHA would conduct an air quality test in response to his

complaint. As part of the test, the OSHA inspectors placed a sensor outside the C-130J wings to

monitor the fumes released when applying the promoter inside the wings. Approximately two days

before the OSHA test, however, Lockheed management changed the spray gun’s application

characteristics by changing the spray gun nozzle aperture to a larger size. They also reduced the

paint gun air pressure, causing the spray gun to become a high volume-low pressure (HVLP)

apparatus. The result of this change was a dramatic reduction in the atomization of PR-148.

Through a combination of aperture enlargement and lower air pressure, when the PR-148 was

applied during the OSHA test, less toluene was available to impregnate the surrounding air.

           105.   In other words, Lockheed concealed the environmentally unsafe practice it

continued to engage in for the purpose of misleading OSHA and manipulating the inspection

results.




                                                 37
       106.    The OSHA inspectors removed the sensor after the air quality testing, and a few

days later, Lockheed management changed the spray gun nozzle apertures back to the original

sizes, which used less of the promotor but aerosolized much more of the chemical in the work area,

resulting in more of the product being ingested by the employees. They also increased the air

pressure of the spray gun.

       107.    Lockheed utilized a clever parlor game of “bait and switch” to convince OSHA that

the air quality was safe when it was not. As soon as OSHA completed its inspection, Lockheed

reverted to its business model of placing profit ahead of the safety of its employees.

D.     Lockheed Martin’s Knowing and Reckless Disregard of the Manufacturing and
       Environmental Standards for Sealing Integral Fuel Tanks

       108.    From at least 2010 until the present, Lockheed Martin has not adhered to its own

Manufacturing Process Standard for sealing integral fuel tanks as required by FAR and Lockheed

Martin’s contracts with the Government. Lockheed Martin uses a prohibited method of applying

adhesion promoter—a paint spray gun—and applies sealant after the adhesion promoter has been

on the fuel tanks well past the eight-hour maximum time limit allowed by the Manufacturing

Process Standard.

       109.    Specifically, after the integral fuel tanks are cleaned and prepared for the adhesion

promoter, Lockheed Martin does not use any of three manufacturer-approved methods for applying

the promoter—aerosol spray can, soft bristle brush using a pint-size bottle, or a clean cloth

saturated with adhesion promoter. Instead, the adhesion promoter is applied to the integral fuel

tanks with a paint spray gun, exposing employees and the environment to unnecessary hazards. As

noted supra, in 2010, Lockheed Martin employees were instructed to use this method by their

supervisor, David Crump, to reduce the amount of time needed to complete the sealing process for

the integral fuel tanks on a C-130J.



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       110.     The paint spray gun method for applying adhesion promoter is messy and imprecise

and causes substantial overspray onto other parts of the fuel tanks. Applying promoter to parts that

do not require sealant is prohibited by the Manufacturing Process Standard, as is use of the spray

gun apparatus itself. See Exhibit 1 (Manufacturing Process Standard); see also exhibit 7

(Photographs of “stop work” tags, noting that use of paint spray guns was out of compliance with

the Manufacturing Process Standard for sealing C-130 integral fuel tanks).

       111.     This application method also deprives the Government of the service it contracted

for, which is the careful construction of its aircraft utilizing an approved method as opposed to the

haphazard use of a paint spray gun.




      Images 13 and 14: Overspray in the internal parts of the wing skins caused by use of paint spray gun
                                            to apply adhesion promoter

       112.     Furthermore, after the adhesion promoter was incorrectly applied using the paint

spray gun method, Lockheed Martin frequently left the promoter exposed and unprotected on the

fuel tanks for more than eight hours without applying sealant. For example, Lockheed’s integral

fuel tank team took a month-long break in December 2017 and January 2018. During that time,


                                                    39
Lockheed Martin allowed adhesion promoter to stay exposed on a fuel tank for almost a month.

See Exhibit 6 (Lockheed Martin Shop Floor Management Activity Record, reflecting the 26-day

gap between the application of adhesion promoter and sealant). The promoter was applied on

December 19, 2017, and the sealing process was completed on January 25, 2018, meaning that the

promoter was on the aircraft for 26 days before sealant was applied instead of the maximum eight

hours. Id.

E.     Examples of Mechanical Problems Due to Improper Sealing of Fuel Tanks

       113.    Relator obtained Air Force maintenance logs concerning leaks associated with the

C-130J aircraft’s fuel cells. Attached as exhibits 12 and 13 are two Air Force maintenance logs

containing a total of 836 line items detailing leaks in approximately eighty (80) different C-130J

aircraft since January 2010. Relator reviewed these logs and determined that 290 of the 836 line

items were specifically related to leaking fuel cells which were improperly sealed, which equates

to roughly 35% of the total line items on the spreadsheets. See exhibits 14 and 15 (C-130J

maintenance logs with markings by Relator to indicate line items where the leak appears to be due

to improper sealing of the fuel tank).

F.     Lockheed’s Shortcut Cheated the Government

       114.    As previously noted, there are only three contractually approved methods of

applying promoter: 1) aerosol can, 2) soft bristle brush, or 3) clean cloth. Lockheed bid the contract

based on using this required methodology, and the Air Force awarded the contracts based on same.

       115.    The application of adhesion promotor is a time-consuming process, and Relator

estimates that it took eighty (80) hours per fuel cell when performing the work properly. While it

did take longer to apply the adhesion promoter using one of the approved methods, its careful




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application was necessary to ensure the efficacy of the promoter and the safety of the worker

applying it.

         116.     It would have been permissible for Lockheed to attempt to change the methodology

for application of the adhesive promotor had it requested a variance and had the Air Force granted

one. Before the Air Force could grant such a variance, however, Lockheed’s new process of

spraying fuel cells with a paint spray gun would have to be proven both effective and safe, which

it could never be. But Lockheed never sought a variance, nor could the Air Force ever honestly

grant one.

         117.     Instead, Lockheed decided to implement the use of high-pressure spray equipment

to apply the promoter without the Government’s knowledge or approval, and it made this decision

in the interest of profitability.

         118.     Lockheed was able to bank the reduced application time as pure profit in the firm

fixed price contracts. Lockheed bid the contract as if it took dozens of hours to apply the promoter,

which it may take if done correctly. Spraying fuel cells with a spray gun, however, takes an average

of one hour, meaning that Lockheed made a huge profit based on reduced labor.

         119.     Lockheed did not seek a variance for two important reasons: 1) it knew the

application method would never pass the OSHA safety regulations governing such application,

and 2) it knew the Air Force would rescope the labor costs of the contract, thus greatly reducing

its profits.9




9
 “Rescoping” means the contract requirements have changed from what was initially contracted for, in this case labor.
A dramatic reduction in labor costs would cause the Air Force to reduce its contract cost correspondingly through
reduction of the payment of inflated labor costs to Lockheed. Rescoping has the effect of ensuring a reasonable profit
for the prime contractor while protecting the Government from costly overpayments.


                                                         41
                   XI.    LOCKHEED MARTIN RETALIATED AGAINST RELATOR

       120.    In 2010, Relator’s supervisor, David Crump, instructed the tank sealing crew to use

paint spray guns to apply adhesion promoter inside the wings of C-130J aircraft. Relator

confronted him about this practice in late 2010 and told Mr. Crump that the fumes from spraying

the promoter were giving him headaches and making everyone sick. Mr. Crump had a sensor

installed in the tank sealing work area which would alert the crew when PR-148 was being sprayed,

but the practice of spraying the promoter, as opposed to using an approved method of application,

went unchanged.

       121.    Over the next few years, Relator repeatedly told Lockheed management that

applying adhesion promoter using a paint spray gun was unsafe and making the crew sick.

Specifically, Relator had contact with the following individuals in addition to Mr. Crump: Joe

Letourneai (supervisor), Ralph Fontana (supervisor), Rick Cochran (manager), John Rhodes

(manager), Earl Pinkett (ESH manager), and Mike Roach (employment training manager). Even

though Lockheed had a medical clinic on site, and even though Lockheed personnel were aware

that Relator was working in a hazardous environment, Relator was not told to seek medical testing

or treatment at Lockheed’s clinic.

       122.    Relator’s health worsened, and he sought medical treatment in September 2015.

Relator’s blood work showed liver enzymes so high that the doctor asked about his alcohol

consumption. When Relator told his doctor that he does not consume alcohol, they discussed

whether the chemicals in the adhesion promoter could be the cause of his health problems. Relator

subsequently sought additional treatment at Lockheed’s clinic, and his blood work from that visit

confirmed his elevated liver enzymes.

       123.    Relator reviewed the Material Safety Data Sheet (MSDS) for the promoter and

confirmed that the chemicals in PR-148 may cause damage to the liver and nervous system, as


                                               42
well as other medical problems. He also confirmed that the method of using a paint spray gun to

apply promoter went against the manufacturer’s instructions for using the product and the

Manufacturing Process Standard.

       124.    Relator continued to try to convince Lockheed to cease the practice of forcing

employees to apply adhesion promoter with a paint spray gun rather than using the approved

method specified in the MSDS. To that end, he contacted his Union in 2016 and filed a complaint.

Relator spoke with the Union President, Johnny Stevens, directly about his concerns of air quality

within his workspace.

       125.    Mr. Stevens sent the Union Vice President, Mike Owens, to Lockheed to address

the complaints from Relator and other employees regarding the noxious fumes. Mr. Owens

determined that there was a large volume of fumes emanating in the work area. He was successful

in getting Lockheed management to agree to reduce the air pressure for the spray guns, but only

for some of the shifts. Lockheed never reduced the air pressure, however, and Relator continued

to be exposed to a high level of fumes.

       126.    Relator’s health continued to decline, and he continued to complain about the fumes

and use of an unapproved method to no avail. Rather than stopping this practice, Lockheed

retaliated against Relator by forcing him to continue to endure hazardous conditions, thus

exacerbating the medical problems caused by Lockheed’s use of an unapproved and hazardous

method of applying adhesion promoter.

       127.    In March 2018, Relator filed this case in an effort to stop Lockheed from continuing

to utilize its unsafe and unapproved practice. On July 17, 2018, DoD personnel inspected the

Lockheed Martin facility and caused the paint spray guns to be tagged as out of compliance with

the Manufacturing Process Standard for sealing C-130 integral fuel tanks. See Exhibit 7




                                                43
(Photographs of “stop work” tags, noting that use of paint spray guns was out of compliance with

the Manufacturing Process Standard for sealing C-130 integral fuel tanks).

       128.    Immediately after the DoD inspection, Relator’s supervisor began treating him

differently. He was reassigned to work in Building 28, where he was told to work on some broken

shelves. Relator’s job responsibilities were essentially scaled down to menial labor.

       129.    Furthermore, the conditions in Building 28 were in some ways worse than where

he had previously worked. Notably, Building 28 did not have any air conditioning, and the

temperature was consistently between 85 and 98 degrees. The bathrooms were dilapidated, dirty,

and cluttered with boxes and chemical bottles, as shown below:




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                      /

                          Images 15, 16, and 17: Building 28 Bathrooms

       130.    Similarly, the kitchen that Relator used to store his lunch and get water during

breaks was rusty, moldy, and in general, dirty:




                             Images 18 and 19: Building 28 Kitchen




                                                  45
       131.    Relator was forced to work in these disgusting conditions and was unable to quit

working for Lockheed, because he had a family to support.

       132.    In addition to the menial labor of fixing shelves, Lockheed also assigned Relator to

work at Lockheed’s security gate checking cars as they entered the facility, a far cry from the

skilled labor he had previously performed as a mechanic.

       133.    After four months of being exiled to Building 28, Lockheed Martin terminated

Relator on November 5, 2018, two weeks after he was interviewed by the Government (on October

22, 2018) in connection with the allegations herein. The letter Lockheed sent to Relator informing

him of his termination stated that he was “out” due to his medical limitations and the company’s

inability to accommodate them. See exhibit 11 (November 5, 2018 letter from Lockheed Martin

terminating Relator’s employment). Relator’s medical limitations were caused by Lockheed’s

misconduct, and now, ironically, Lockheed claimed it was terminating him due to those

limitations.

       134.    In May 2021, more than two-and-a-half years after terminating him, Lockheed sent

Relator a letter notifying him that his “request for time away from work has been approved” and

that he had been granted a medical leave of absence from November 6, 2018 through September

30, 2021. See exhibit 16 (May 6, 2021 letter from Lockheed Martin Leave and Disability Center,

Sedgwick Claims Management Services, to Relator approving medical leave of absence). When

Relator contacted Lockheed to ask why the letter had been sent, Relator was told it was in response

to his (Relator’s) request for a medical leave of absence. Relator told the individual that he had

been terminated in November 2018 and had never submitted a request for medical leave of

absence.




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       135.    Lockheed then contacted Relator in September 2021 and told him to request an

extension of the “medical leave,” which was set to expire at the end of that month. Relator did not

request an extension of the medical leave, which he had never requested in the first place.

Lockheed was belatedly trying to cover up its retaliatory termination of Relator’s employment by

calling it a “medical leave of absence” effective November 6, 2018, even though Lockheed sent

Relator a termination letter on November 5, 2018.

       136.    Lockheed’s “Ethics Office” also sent Relator a postcard in November 2021

advising him that he could “contact [his] local Ethics Officer” or Lockheed Martin’s compliance

hotline should he be “concerned about possible policy violations or misconduct.” See exhibit 17

(Postcard from Lockheed’s Ethics Office).

       137.    Since the time of his termination in November 2018, Relator has had to take

approximately $137,000 from his 401K to pay for his family’s living expenses. He lost his health

insurance coverage when Lockheed terminated him, and he was unable to get any insurance

coverage for several months. In early 2019, Relator was able to enroll in a plan offered through

the Affordable Care Act, but the plan does not cover his specialists or provide for his complex

medical needs—it is essentially catastrophic coverage.

       138.    Because he no longer receives health insurance through Lockheed, Relator has been

unable to receive regular health testing and medications needed to treat his conditions. His health

continues to deteriorate, and his quality of life has suffered. Relator is still unable to find

employment, and his medical expenses continue to pile up. Lockheed Martin’s retaliation against

Relator has caused him significant financial, emotional, and physical harm.




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                                   XII.    ACTIONABLE CONDUCT

A.     False Claims Act

       1.      Applicable Law

       139.    This is an action to recover damages and civil penalties on behalf of the

Government and Relator arising from false and/or fraudulent statements, claims, and acts by

Lockheed made in violation of the False Claims Act, 31 U.S.C. §§ 3729–32.

       140.    The FCA provides that any person who

               (A)    knowingly presents, or causes to be presented, a false or fraudulent claim
                      for payment or approval;
               (B)    knowingly makes, uses, or causes to be made or used, a false record or
                      statement material to a false or fraudulent claim
is liable to the Government for a civil penalty for each such claim, plus three times the amount of

damages sustained by the Government because of the false or fraudulent claim. See 31 U.S.C. §

3729(a)(1).

       141.    The FCA defines “claim” as:

        (A)    [] any request or demand, whether under a contract or otherwise, for money
               or property and whether or not the United States has title to the money
                       or property, that—
               (i)     is presented to an officer, employee, or agent of the United States;
                       or
               (ii)    is made to a contractor, grantee, or other recipient, if the money or
                       property is to be spent or used on the Government’s behalf or to
                       advance a Government program or interest, and if the United States
                       Government—
                       (I)     provides or has provided any portion of the money or
                               property requested or demanded; or
                       (II)    will reimburse such contractor, grantee, or other recipient for
                               any portion of the    money or property which is requested
                               or demanded. . . .
31 U.S.C. §3729(b)(2).




                                                 48
       142.      The FCA allows any person having knowledge of a false or fraudulent claim against

the Government to bring an action in federal district court for himself and for the United States

and to share in any recovery as authorized by 31 U.S.C. § 3730. The FCA also protects an

individual who has suffered retaliation because of his or her efforts to stop violations of the False

Claims Act. See 31 U.S.C. § 3730(h).

       143.      Further, the FCA protects employees, contractors, and agents who engage in

protected activity from retaliation in the form of their being “discharged, demoted, suspended,

threatened, harassed, or in any other manner discriminated against in the terms and conditions of

employment.” See 31 U.S.C. § 3730(h)(1).

       144.      Based on these provisions, Relator, on behalf of the United States and on his own

behalf, seeks through this action to recover damages and civil penalties arising from Defendant’s

violations of the False Claims Act.

       2.        Defendant’s Violations of the False Claims Act

            a.      Presentation of False or Fraudulent Claims (31 U.S.C. § 3729(a)(1)(A))

       145.      From at least 2010 to the present, Lockheed has knowingly presented false and/or

fraudulent claims for payment or approval to the United States. As a condition of entering into a

contract with the United States, Lockheed agreed to comply with FAR, the OSHA Act, the Clean

Air Act, as well as the requirements within the contract. Relevant here, Lockheed agreed to

manufacture C-130J aircraft in compliance with its contracts with the Government, including,

FA8504-06-D-0001, FA8504-16-D-0001, FA8504-17-F-0047, FA8625-11-C-6597, FA8625‐14‐

C‐6450, and FA8625-16-D-6458. Each contract incorporates and requires adherence to

Lockheed’s Manufacturing Process Standard for sealing C-130J integral fuel tanks, as well as




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regulations prohibiting employers from exposing employees to hazardous conditions without

sufficient protective gear.

       146.    Each time Lockheed invoiced the Government, it certified that it not only complied

with FAR, the OSHA Act, and environmental regulations, but also the manufacturing

specifications in the contracts. These representations were false, and Lockheed knowingly made

numerous express false certifications of compliance with regulations and contract terms; in reality,

Lockheed complied with neither the regulations nor the contracts. Also, the aircrafts were

defective, because they were not manufactured in accordance with the Manufacturing Process

Standard. Likewise, Lockheed knowingly made material implied false certifications of compliance

when it delivered defective aircraft knowing that the Government was not aware of the defects.

       147.    If the Government had known that the integral fuel tanks on the C-130J aircraft

were defective, the Government would not have paid Lockheed for the aircraft. By concealing the

defective integral fuel tanks, Lockheed deprived the Government of its contractual and regulatory

right to reject or require correction of the nonconforming aircraft or to terminate the contract.

       148.    Furthermore, Lockheed bid the contract as if it required dozens more hours to apply

the promoter than it took. In reality, Lockheed’s grossly truncated method of spraying promoter

considerably reduced the number of labor hours required for each fuel cell. Lockheed never

informed the Government of its changed methodology and did not receive approval for same. Had

the Government been aware that Lockheed was overcharging the Government for labor, it would

not have paid the claims.

       149.    Defendant’s regulatory and contractual violations were material, because they went

to the very essence of the bargain for which the United States contracted. The United States

believed it was paying for goods and services provided in compliance with FAR. Had the United




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States known of Defendant’s failure to comply with the contracts’ specifications, as well as

Defendant’s regulatory violations, the United States would not have paid the claims.

       150.    By virtue of Defendant’s actions, the United States has suffered damages and is

entitled to recover treble damages plus a civil monetary penalty for each false claim.

       b.      Making or Using False Records or Statements Material to False or Fraudulent
               Claims (31 U.S.C. § 3729(a)(1)(B))

       151.    From at least 2010 to the present, Defendant knowingly made or used false records

or statements material to false or fraudulent claims paid or approved by the United States. These

false statements or records include Defendant’s false certifications or representations of

compliance with all laws in requesting payments from the Government for performing the

contracts at issue in this case. Defendant falsely certified, expressly and impliedly, that its

statements were true, accurate, and correct.

       152.    In 2006, Lockheed was awarded its first contract for the refurbishment of existing

C-130Js by the DoD pursuant to contract no. FA8504-06-D-0001. Thereafter, the Government on

numerous occasions modified and extended its contract with Lockheed. Prior to each contract

modification, Lockheed represented that it would comply with FAR, including the requirement

that any product manufactured by Lockheed comply with the terms of the applicable contract for

the product, and that it would implement an effective quality control system.

       153.    Lockheed represented that it would manufacture C-130J aircraft in compliance with

the contracts, including contract nos. FA8504-06-D-0001, FA8504-16-D-0001, FA8504-17-F-

0047, FA8625-11-C-6597, FA8625‐14‐C‐6450, and FA8625-16-D-6458. Each contract

incorporates and requires adherence to Lockheed’s Manufacturing Process Standard for sealing C-

130J integral fuel tanks, as well as the OSHA Act and environmental regulations. Lockheed

knowingly made false representations material to the Government’s decisions to modify and


                                                51
extend the contracts.

       154.    If the Government had known that the integral fuel tanks on the C-130J aircraft

were not, or would not be, manufactured in accordance with the Manufacturing Process Standard

for sealing the tanks, the Government would not have accepted the aircraft and paid Lockheed,

and it may also have refused to modify and extend the original contract.

       155.    Furthermore, Lockheed bid the contract as if it required dozens more hours to apply

the promoter than it actually took. In reality, Lockheed’s grossly truncated method of applying

promoter considerably reduced the number of labor hours required for each fuel cell. Lockheed

never informed the Government of its changed methodology and did not receive approval for same.

Had the Government been aware that Lockheed was overcharging the Government for labor, it

would not have paid the claims.

       156.    Defendant’s express and implied false certifications of compliance with FAR and

environmental statutes and regulations were material, because they went to the very essence of the

bargain for which the United States contracted. The United States believed it was paying for goods

and services provided in compliance with FAR and other regulations. Had the United States known

of Defendant’s slipshod and dangerous manufacturing process, it would not have paid the claims.

       157.    Given the structure of the Government contracting system, the false statements,

false representations, false records, and/or material omissions made by the Defendant were capable

of influencing the payment decisions of the Government. Lockheed’s fraudulent representations

earned it millions of dollars to which it was not legitimately entitled. The ultimate submission to

the Government of false claims for payment was a cause in the Government’s loss and a

consequence of the scheme.




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       158.      By virtue of Defendant’s actions, the United States has suffered actual damages and

is entitled to recover treble damages plus a civil monetary penalty for each false claim.

B.     Defendant’s Retaliation Against Relator

       159.      Section 3730(h) of Title 31 of the U.S. Code defines whistleblower protection under

the FCA as follows:

           (1)       Any employee, contractor, or agent shall be entitled to all relief
                     necessary to make that employee, contractor, or agent whole, if that
                     employee, contractor, or agent is discharged, demoted, suspended,
                     threatened, harassed, or in any other manner discriminated against in
                     the terms and conditions of employment because of lawful acts done
                     by the employee, contractor, or agent on behalf of the employee,
                     contractor, or agent or associated others in furtherance of efforts to stop
                     1 or more violations of this subchapter. . . .

           (2)       Relief … shall include reinstatement with the same seniority status that
                     employee, contractor, or agent would have had but for the
                     discrimination, 2 times the amount of back pay, interest on the back
                     pay, and compensation for any special damages sustained as a result of
                     the discrimination, including litigation costs and reasonable attorneys’
                     fees.

       160.      Lockheed retaliated against Relator because of his efforts to stop it from defrauding

the Government in violation of the False Claims Act by delivering an unsafe product manufactured

in dangerous conditions and exposing its employees to health and safety violations. Lockheed

altered the manufacturing process the contracts called for by using paint spray guns, which exposed

Relator and his coworkers to noxious fumes that caused multiple health problems.

       161.      Lockheed’s final act of retaliation was to terminate Relator, which stripped him of

his health insurance. Relator has been unable to obtain other employment due to his medical

conditions, and his health is deteriorating as a direct result of his inability to afford proper medical

care for the following conditions:

                    o Liver cirrhosis




                                                  53
                   o Hemochromatosis (iron overload in the blood)

                   o Type-2 diabetes

                   o Nasal cyst/tumor

                   o Chronic headaches

                   o Chronic pain requiring two shoulder surgeries

                   o Hearing loss—right ear

                   o Vision loss—both eyes

                   o Chronic hepatitis B infection

                   o Mild neurocognitive disorder

       162.    Relator has suffered economic loss and sustained special damages, including

expenses associated with his medical conditions, which are worsening because of Defendant’s

retaliatory acts, and he is entitled to relief pursuant to 31 U.S.C. § 3730(h).

                                    XI.     CAUSES OF ACTION

A.     Count I – Presentation of False or Fraudulent Claims (31 U.S.C. § 3729(a)(1)(A))

       163.    Relator realleges and incorporates by reference each and every allegation contained

in all paragraphs of this Fifth Amended Complaint.

       164.    From 2010 to the present, Defendant has knowingly presented false or fraudulent

claims for payment to the Government for work performed on contract nos. FA8504-06-D-0001,

FA8504-16-D-0001, FA8504-17-F-0047, FA8625-11-C-6597, FA8625‐14‐C‐6450, and FA8625-

16-D-6458.

       165.    Lockheed knowingly violated FAR, which requires it to manufacture the C-130J

aircraft in accordance with the processes in Lockheed’s contracts with the Government. Lockheed

also knowingly subjected its employees to hazardous conditions and failed to provide appropriate

protective gear, in violation of the OSHA Act. Lockheed also harmed air quality and the health of


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its employees by using an unapproved method to apply PR-148. Furthermore, Lockheed misled

the Government on the amount of labor required to manufacture each fuel cell and grossly

overcharged the Government.

       166.    Pursuant to 48 C.F.R. § 32.905(a), the basis for payment is on receipt of a proper

invoice and satisfactory contract performance. Defendant caused the United States to make

payments for goods and services that it would not have made had it known the contractor was

manipulating inspection results.

       167.    Defendant’s violations of the OSHA Act, FAR, environmental regulations, and

other terms of the contracts were material, because they went to the very essence of the bargain

for which the United States contracted. The United States believed it was paying for goods and

services provided in compliance with federal regulations and the terms of the contracts. Had the

United States known of Defendant’s failure to comply with contract terms, FAR, and other

regulations, the United States would not have paid the claims.

       168.    The United States paid the false or fraudulent claims.

       169.    By virtue of Defendant’s actions, the United States has suffered damages and is

entitled to recover treble damages plus a civil monetary penalty for each false claim.

B.     Count II – False Records or Statements (31 U.S.C. § 3729(a)(1)(B))

       170.    Relator realleges and hereby incorporates by reference each and every allegation

contained in all paragraphs of this Fifth Amended Complaint.

       171.    Lockheed made and/or used false records and/or statements that were material to

the false and/or fraudulent claims paid or approved by the Government and induced the

Government into modifying and extending its contracts. Lockheed’s false statements and/or

records include, but are not limited to, representations that it (1) would comply with the FAR

requirement that it adhere to the manufacturing standards in the contracts; (2) would comply with


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the FAR requirement that it implement a quality assurance system to prevent the manufacturing of

defective products; (3) would manufacture C-130J aircraft in compliance with its contracts with

the Government; and (4) required dozens of hours of labor per fuel cell when it actually required

much less than that.

       172.      Defendant’s express and implied false certifications of compliance with FAR, the

OSHA Act, and the Clean Air Act were material, because they went to the very essence of the

bargain for which the United States contracted. The United States believed it was paying for goods

and services provided in compliance with contract terms and federal regulations. Had the United

States known of Defendant’s failure to comply with contract terms, FAR, and other regulations,

the United States would not have paid the claims.

       173.      Given the structure of the Government contracting system, the false statements,

false representations, false records, and/or material omissions made by the Defendant were capable

of influencing the payment decisions of the Government. Due to its fraudulent representations,

Defendant earned millions of dollars to which it was not legitimately entitled. The ultimate

submission to the Government of false claims for payment was a causative factor in the

Government’s loss and a consequence of the scheme.

       174.      By virtue of Defendant’s actions, the United States has suffered actual damages and

is entitled to recover treble damages plus a civil monetary penalty for each false claim.

                                        PRAYER FOR RELIEF

       175.      WHEREFORE, Relator respectfully requests that the Court enter judgment against

the Defendant and award the following:

           (1)      Damages in the amount of three (3) times the actual damages suffered
                    by the United States as a result of Defendant’s conduct;




                                                 56
           (2)      Civil penalties against Defendant up to the maximum allowed by law
                    for each violation of 31 U.S.C. § 3729;

           (3)      The maximum award Relator may recover pursuant to 31 U.S.C. §
                    3730(d);

           (4)      All costs and expenses of this litigation, including attorney’s fees and
                    costs of court; and

           (5)      All other relief on behalf of Relator or the United States that the Court
                    deems just and proper.

C.     Count III – Retaliation (31 U.S.C. § 3730(h))

       176.      Relator realleges and incorporates by reference each and every allegation contained

in all paragraphs of this Fifth Amended Complaint.

       177.      In violation of 31 U.S.C. § 3730(h), Defendant retaliated against Relator because

of lawful acts he conducted in furtherance of efforts to stop Defendant from committing violations

of the False Claims Act.

       178.      Relator has suffered economic loss and special damages because of Defendant’s

retaliatory acts. He has been unable to find any employment and cannot afford the health insurance

he was receiving before Defendant supposedly fired him for, ironically, his worsening medical

conditions. Relator’s medical conditions were caused by Lockheed’s use of an unsafe and

prohibited manufacturing method, in violation of its contracts with the United States.

                                        PRAYER FOR RELIEF

       179.      Relator prays that the Court enter judgment against Defendant for the following:

           (1)      Two times the amount of Relator’s back pay;

           (2)      Interest on Relator’s back pay;

           (3)      Compensation for special damages sustained by Relator as a result of
                    Defendant’s actions, including costs associated with his worsening
                    medical conditions;



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         (4)      Litigation costs and attorney’s fees; and

         (5)      Any other relief the Court deems just and proper to make the Relator
                  whole.

                                 XII.    DEMAND FOR JURY TRIAL

      180.     Pursuant to Federal Rule of Civil Procedure 38, Relator demands a trial by jury.

                                        XIII. EXHIBIT INDEX

      181.     The following documentary evidence is referenced herein:

No.                       Document Description                              Bates Number
      Lockheed Martin Aeronautics Company Manufacturing Process              ISSAC0000001-
 1
      Standard Sealing C-130 Integral Fuel tanks                              ISSAC0000050
                                                                             ISSAC0000051-
 2    Technical Data PR-148 Adhesion Promoter
                                                                              ISSAC0000053
      Relator’s Official Lockheed Martin Job History & Employee ID           ISSAC0000054-
 3
      Card                                                                    ISSAC0000058
      Specifications for the BINKS Model 80-600 SG-2 PLUS Paint              ISSAC0000059-
 4
      Spray Gun                                                               ISSAC0000067
                                                                             ISSAC0000068-
 5    Safety Data Sheet for PR-148 Adhesion Promoter
                                                                              ISSAC0000088
      Lockheed Martin Shop Floor Management Activity Record,
                                                                             ISSAC0000089-
 6    reflecting the 26-day gap between the application of adhesion
                                                                              ISSAC0000094
      promoter and sealant
      Photographs of “stop work” tags, noting that use of paint spray
                                                                             ISSAC0000095-
 7    guns was out of compliance with the Manufacturing Process
                                                                              ISSAC0000098
      Standard for sealing C-130 integral fuel tanks
                                                                             ISSAC0000099-
 8    Photographs of Building 28 Bathrooms
                                                                              ISSAC0000101
                                                                             ISSAC0000102-
 9    Photographs of Building 28 Lunchroom
                                                                              ISSAC0000103
                                                                             ISSAC0000104-
10    November 3, 2016 e-mail from OSHA to Relator
                                                                              ISSAC0000105
      November 5, 2018 letter from Lockheed Martin to Relator
11                                                                           ISSAC0000106
      terminating Relator’s employment
                                                                             ISSAC0000107-
12    Air Force C-130J maintenance log containing 17 pages
                                                                              ISSAC0000123
                                                                             ISSAC0000124-
13    Air Force C-130J maintenance log containing 6 pages
                                                                              ISSAC0000129
      Air Force C-130J maintenance log containing 17 pages with              ISSAC0000130-
14
      markings by Relator                                                     ISSAC0000146



                                               58
     Air Force C-130J maintenance log containing 6 pages with       ISSAC0000147-
15
     markings by Relator                                             ISSAC0000152
     May 6, 2021 letter from Lockheed Martin Leave and Disability
                                                                    ISSAC0000153-
16   Center, Sedgwick Claims Management Services, to Relator
                                                                     ISSAC0000154
     approving medical leave of absence
                                                                    ISSAC0000155-
17   Postcard from Lockheed’s Ethics Office
                                                                     ISSAC0000156
                                                                    ISSAC0000157-
18   DoD Test Method Standard, publication MIL-STD-1916
                                                                     ISSAC0000189




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Respectfully submitted,

BRUNE LAW FIRM


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ATTORNEYS IN CHARGE FOR RELATOR
TESFALEM ISSAC




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                                CERTIFICATE OF SERVICE

       I hereby certify that on February 21, 2022, I caused a true and correct copy of this Fifth

Amended Complaint to be served on the United States Department of Justice and the United States

Attorney’s Office in the Northern District of Oklahoma via certified mail, return receipt requested.

       I further certify that on February 21, 2022, I caused a true and correct copy of this Fifth

Amended Complaint to be sent via electronic mail to Merrick Garland, United States Attorney

General, at Civilfrauds.quitams@usdoj.gov.

       I hereby certify that on February 21, 2022, I electronically transmitted the foregoing

document to the Clerk of Court using the ECF System for filing and transmittal of a Notice of

Electronic Filing to the following ECF registrants:

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                                                      _/S/ KENNETH L. BRUNE_____
                                                      Kenneth L. Brune




                                                 I
